   Case 2:10-md-02179-CJB-DPC Document 11728-3 Filed 10/24/13 Page 1 of 8




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater        *         MDL NO. 2179
   Horizon” in the Gulf of Mexico on April        *
   20, 2010                                       *         SECTION J
                                                  *
                                                  *
         This document relates to:                *         HONORABLE CARL J.
                                                  *         BARBIER
                      No. 12-970                  *
                                                  *         MAGISTRATE JUDGE
                                                  *         SHUSHAN
                                                  *


               [PROPOSED] ORDER MODIFYING TEMPORARY INJUNCTION

   Upon consideration of the decision of the United States Court of Appeals for the Fifth

Circuit’s decision in In re: Deepwater Horizon, No. 13-30315, dated October 2, 2013, and,

pending a Status Conference with the Parties that was held on October 11, 2013, this Court, on

October 3, 2013, issued a temporary injunction enjoining the Claims Administrator from the

issuance of any final determination notices or any payments with respect to those Business

Economic Loss (“BEL”) claims in which the Claims Administrator determined that the matching

of expenses was an issue. The Claims Appeals process as detailed in Section 6 (filing of notices,

briefs, and panel decisions) for similar BEL claims was also placed on hold. See Rec. Doc.

11566.

   After consultation with the Parties, and in accordance with the Minute Entry issued on

October 11, 2013 (Rec. Doc. 11635), the Court now MODIFIES its previous Order and LIFTS,

in part, the previous Injunction, such that any BEL Claimants who satisfy any one of the below

criteria shall continue to be processed according to the “Variable Profit” calculation contained
   Case 2:10-md-02179-CJB-DPC Document 11728-3 Filed 10/24/13 Page 2 of 8




within the Compensation Framework set forth in Exhibit 4C to Business Economic Loss (BEL)

Claims:

    1. Claims submitted where the average monthly variable expense for the optimal benchmark

        period does not exceed two times the variable expense for the benchmark year or years

        divided by twelve; or

    2. Claims submitted where the average monthly variable expense for the optimal

        compensation period does not exceed two times the variable expenses for the benchmark

        year or years divided by twelve; or

    3. Claims that pass the Variable Margin Reasonability (“VMR”) Test;1 or

    4. Claims submitted in accordance with existing Claims Administrator Policy 466; or

    5. Claims submitted with Audited Financial Statements as evidenced by an accountant’s

        “Audit Opinion;”2 or

    6. Claims submitted with Reviewed Financial Statements as evidenced by a “Review

        Report;”3 or

    7. Claims submitted where the federal tax return lists Accrual as its method of accounting

        and there is no reconciling item on schedule M-1 or M-3 to the contrary;4 or



        1
           The Variable Margin Reasonability Test (“VMR”) is a two-prong test. Prong One determines
the variance between the compensation period and the annual 2010 Variable Margin. Prong Two
determines the variance between the benchmark period and the annual benchmark period variable
margins. See EXHIBIT A.
         2
           See AICPA Auditing and Standards Section AU-C 700.19.36, AU-C 700.39-41
         3
           See Statement of Standards for Accounting and Review Services No. 19
         4
           The claimants’ Tax Return, whether it be Schedule C, Form 1065, Form 1120 or 1120S,
requires the taxpayer to disclose its method of accounting, i.e., “Cash,” “Accrual,” or
“Other.” Furthermore, in the case of all of the above, except Schedule C, Claimants are required on
Schedule M-1 or M-3 to reconcile book to taxable income. If the books are kept on a method other than
the tax return’s accounting method there will be reconciling items identifying the book tax returns
difference.
         Additionally federal returns are signed as follows: “Under penalties of perjury. I declare that I
have examined the return, including accompanying schedules and statements, and to the best of my
   Case 2:10-md-02179-CJB-DPC Document 11728-3 Filed 10/24/13 Page 3 of 8




    8. Claims submitted wherein the Benchmark Period and Compensation Period present

        consistently applied accrual-based accounting methods.5

        Additionally the Fifth Circuit indicates in Part I of the aforementioned Opinion that it is

    the Settlement Program’s responsibility to conduct any matching of expenses that might be

    necessary. See Opinion, p.20. The Court notes that under Section 4.3.7, 4.3.8, and 4.4.7 of

    the Settlement Agreement, the burden remains on the Settlement Program to do any

    “matching” of expenses on Contemporaneous profit and loss statements (P&Ls) and/or other

    financials from the existing Documentation.           However, in order to expedite processing,

    every Claimant has the option of re-stating their financial statements to accrual-based

    statements, at their own expense, (subject to a claim for reimbursement under Section

    4.4.13), and re-submitting in accordance with the options outlined above.

        Accordingly,

        The injunction as to the Claims meeting any of the above listed criteria is hereby

    LIFTED, and the Claims Administrator is hereby ORDERED to process and pay said Claims

    and Claimants under the terms of Exhibit 4C as outlined in the Settlement Agreement.

        The Settlement Program remains ENJOINED from the issuance of any final

    determination notices or any payments with respect to those BEL claims in which the Claims

    Administrator determines that the matching of expenses is an issue and which is not

    otherwise submitted or re-submitted in accordance with the above. The Settlement Program

    is also ENJOINED from deciding any settlement program appeals in which matching is at

    issue, and such appeals shall continue be held in abeyance. However this abeyance shall be



knowledge and belief, it is true and correct and complete. Declaration of preparer (other than taxpayer) is
based on all information of which preparer has any knowledge.”
       5
         See Opinion, p.16 fn.5; see also Statement of Financial Accounting Concepts No. 6 ¶147.
Case 2:10-md-02179-CJB-DPC Document 11728-3 Filed 10/24/13 Page 4 of 8




prospective only, and shall NOT apply to those appeals wherein the time to seek

discretionary review has expired.

   This injunction does not affect claims submitted to the Settlement Program for: (i)

Seafood Program Compensation, (ii) Individual Economic Loss (“IEL”), (iii) Subsistence,

(iv) VoO Charter Payments, (v) Vessel Physical Damage, (vi) Coastal Real Property

Damage, (vii) Wetlands Real Property Damage, or (viii) Real Property Sales Damage. These

claims and appeals are to be processed, and determinations, decisions and payments are to be

made in the normal course of the Program’s operation.

   IT IS SO ORDERED.

   New Orleans, Louisiana, this ____ day of October, 2013.



                                               ___________________________________
                                               Hon. Carl J. Barbier
           Case 2:10-md-02179-CJB-DPC Document 11728-3 Filed 10/24/13 Page 5 of 8



                                                                 Exhibit	  A	  [Proposed]	  
                                                         Second	  Addendum	  to	  Exhibit	  4C	  
                                                   Variable	  Margin	  Reasonability	  (“VMR”)	  Test	  
	  
The	  term	  “Variable	  Profit”	  is	  defined	  as	  the	  sum	  of	  monthly	  revenues	  (over	  the	  Benchmark	  and/or	  
Compensation	  Periods)	  less	  the	  “corresponding	  variable	  expenses	  from	  revenue	  over	  the	  same	  time	  period.”	  
(Page	  2,	  Exhibit	  4C)	  
	  
The	  documentation	  requirements	  set	  forth	  in	  Exhibit	  4A	  include	  the	  production	  of	  monthly	  and	  annual	  profit	  
and	  loss	  statements	  and	  annual	  tax	  returns,	  however,	  the	  requirements	  do	  not	  state	  a	  specific	  basis	  of	  
accounting	  for	  the	  required	  documentation.	  As	  such,	  it	  is	  possible	  for	  a	  Claimant	  to	  provide	  documentation	  
sufficient	  to	  meet	  the	  requirements	  set	  forth	  in	  Exhibit	  4A,	  however,	  the	  provided	  monthly	  profit	  and	  loss	  
statements	  may	  not	  adequately	  reflect	  the	  Variable	  Profit	  (as	  defined	  in	  Exhibit	  4C)	  on	  a	  monthly	  basis.	  	  
	  	  	  
Accordingly,	  and	  regardless	  of	  accounting	  basis,	  it	  is	  necessary	  to	  determine	  if	  the	  monthly	  profit	  and	  loss	  data,	  
provided	  by	  the	  Claimant	  in	  support	  of	  the	  claim,	  reasonably	  matches	  corresponding	  variable	  expenses	  to	  the	  
recognition	  of	  revenues	  over	  the	  relevant	  periods	  or	  if	  further	  analysis	  of	  corresponding	  variable	  expenses	  will	  
be	  required.	  	  
	  
The	  following	  proposed	  Variable	  Margin	  Reasonability	  Test	  could	  be	  an	  indicator	  of	  which	  claims	  might	  need	  
further	  variable	  profit	  analysis.	  Claims	  passing	  the	  Variable	  Margin	  Reasonability	  Test	  would	  be	  processed	  as	  
presently	  described	  in	  the	  Settlement	  Agreement	  and	  should	  not	  be	  subject	  to	  further	  review	  regarding	  the	  
timing	  of	  expenses	  relative	  to	  revenues.	  Claims	  failing	  the	  test	  will	  be	  subject	  to	  further	  analysis	  of	  the	  timing	  
of	  certain	  variable	  expenses	  relative	  to	  the	  recognition	  of	  revenues	  as	  will	  be	  set	  forth	  in	  the	  Court’s	  
forthcoming	  policy	  decision	  on	  the	  matter.	  
	  
Variable	  Margin	  Reasonability	  Test	  (2-­‐prong	  test)	  
	  
Prior	  to	  conducting	  the	  Variable	  Margin	  Reasonability	  Test,	  calculate	  the	  claim	  according	  to	  Exhibit	  4C	  to	  
determine	  the	  applicable	  Benchmark	  and	  Compensation	  Periods.	  
	  
The	  first	  prong	  of	  the	  test	  is	  to	  determine	  the	  variance	  between	  the	  Compensation	  Period	  and	  Annual	  2010	  
Variable	  Margins:	  
             1. Calculate	  the	  Compensation	  Period	  Variable	  Margin	  Percentage	  (“Compensation	  Period	  VMP”):	  
                    a. Sum	  Variable	  Profit	  (in	  dollars)	  for	  the	  consecutive	  months	  selected	  as	  the	  claim’s	  
                          Compensation	  Period	  for	  Step	  1	  of	  the	  calculation.	  	  
                    b. Sum	  total	  revenue	  for	  the	  same	  Compensation	  Period	  as	  selected	  above	  (1a).	  	  
                    c. Calculate	  the	  Variable	  Margin	  percentage	  for	  the	  Compensation	  Period	  by	  dividing	  Variable	  
                          Profit	  calculated	  in	  (1a)	  by	  total	  revenue	  calculated	  in	  (1b).	  This	  will	  be	  the	  Compensation	  
                          Period	  VMP.	  
             2. Calculate	  the	  Annual	  2010	  Variable	  Margin	  Percentage	  (“Annual	  2010	  VMP”):	  
                    a. Sum	  Variable	  Profit	  (in	  dollars)	  for	  all	  months	  in	  2010,	  January	  through	  December.	  	  
                    b. Sum	  total	  revenue	  for	  all	  months	  in	  2010.	  	  
                    c. Calculate	  Variable	  Margin	  percentage	  as	  Variable	  Profit	  calculated	  in	  (2a)	  divided	  by	  total	  
                          revenue	  calculated	  in	  (2b).	  This	  will	  be	  the	  Annual	  2010	  VMP.	  
             3. Calculate	  the	  variance	  between	  the	  Compensation	  Period	  VMP	  and	  the	  Annual	  2010	  VMP	  as	  a	  
                percentage	  of	  the	  Annual	  2010	  VMP.	  
             4. Results:	  


    	                                                                        Page	  1	  of	  4	                                                                  	  
                                    Case 2:10-md-02179-CJB-DPC Document 11728-3 Filed 10/24/13 Page 6 of 8



                                                                                        a. If	  the	  variance	  calculated	  in	  (3)	  is	  +/-­‐	  30.0%	  or	  less	  or	  the	  nominal	  difference	  between	  the	  
                                                                                           Annual	  2010	  VMP	  and	  Compensation	  Period	  VMP	  is	  +/-­‐7.5%1	  or	  less,	  the	  claim	  passes	  the	  first	  
                                                                                           prong	  of	  the	  Variable	  Margin	  Reasonability	  Test	  and	  the	  claim	  should	  proceed	  to	  the	  second	  
                                                                                           prong	  of	  the	  test	  (5).	  	  
                                                                                        b. If	  the	  variance	  is	  greater	  than	  +/-­‐	  30.0%	  and	  the	  nominal	  difference	  between	  the	  Annual	  2010	  
                                                                                           VMP	  and	  Compensation	  Period	  VMP	  is	  greater	  than	  +/-­‐7.5%,	  the	  claim	  fails	  the	  Variable	  
                                                                                           Margin	  Reasonability	  Test	  and	  will	  be	  subject	  to	  additional	  analysis	  as	  determined	  by	  the	  
                                                                                           Court.	  (I.E.	  The	  claim	  will	  be	  subject	  to	  injunction	  until	  the	  Court-­‐determined	  policy	  regarding	  
                                                                                           corresponding	  expenses	  is	  in	  place.)	  
	  
The	  second	  prong	  of	  the	  test	  determines	  the	  variance	  between	  the	  Benchmark	  Period	  and	  Annual	  Benchmark	  
Period	  Variable	  Margins:	  
        5. Perform	  steps	  (1)	  and	  (2)	  as	  described	  above,	  for	  the	  same	  months	  selected	  in	  (1)	  for	  the	  claim’s	  
             Benchmark	  Period,	  to	  determine	  the	  Benchmark	  Period	  VMP	  and	  the	  Annual	  Benchmark	  Period	  VMP.	  
        6. Calculate	  the	  variance	  between	  the	  Benchmark	  Period	  VMP	  and	  the	  Annual	  Benchmark	  Period	  VMP	  as	  
             a	  percentage	  of	  the	  Annual	  Benchmark	  Period	  VMP.	  
        7. Results:	  
                     a. If	  the	  variance	  calculated	  in	  (6)	  is	  +/-­‐	  30.0%	  or	  less	  or	  the	  nominal	  difference	  between	  the	  
                         Annual	  Benchmark	  Period	  VMP	  and	  Benchmark	  Period	  VMP	  is	  +/-­‐7.5%	  or	  less,	  the	  claim	  passes	  
                         the	  second	  prong	  of	  the	  Variable	  Margin	  Reasonability	  Test	  and	  the	  claim	  should	  be	  processed	  
                         as	  described	  in	  the	  Settlement	  Agreement	  and	  should	  not	  be	  subject	  to	  further	  review	  
                         regarding	  the	  timing	  of	  expenses	  relative	  to	  revenues.	  (I.E.	  The	  claim	  will	  not	  be	  subject	  to	  
                         injunction	  and	  should	  be	  processed	  as	  normal.)	  
                     b. If	  the	  variance	  is	  greater	  than	  +/-­‐	  30.0%	  and	  the	  nominal	  difference	  between	  the	  Annual	  
                         Benchmark	  Period	  VMP	  and	  Benchmark	  Period	  VMP	  is	  greater	  than	  +/-­‐7.5%,	  the	  claim	  fails	  the	  
                         Variable	  Margin	  Reasonability	  Test	  and	  will	  be	  subject	  to	  additional	  analysis	  as	  determined	  by	  
                         the	  Court.	  (I.E.	  The	  claim	  will	  be	  subject	  to	  injunction	  until	  the	  Court-­‐determined	  policy	  
                         regarding	  corresponding	  expenses	  is	  in	  place.)	  
	  
	  
Note:	  While	  the	  methodology	  above	  is	  described	  in	  relation	  to	  regular	  BEL	  claims	  calculated	  under	  Exhibit	  4C,	  
the	  same	  principles	  should	  be	  applied	  to	  Multi-­‐Facility	  Business	  claims	  (Exhibit	  5)	  and	  Start-­‐Up	  Business	  claims	  
(Exhibit	  7).	  
	  
There	  are	  industries	  in	  which	  the	  determination	  of	  variable	  profit	  and	  the	  adequacy	  of	  the	  matching	  of	  variable	  
costs	  to	  revenue	  should	  not	  be	  an	  issue.	  For	  instance,	  this	  should	  not	  be	  an	  issue	  for	  restaurants.	  Essentially,	  
goods	  and	  services	  are	  paid	  at	  the	  time	  of	  delivery,	  payment	  terms	  to	  suppliers	  are	  within	  30	  days,	  and	  
inventory	  is	  not	  material,	  and	  thus,	  not	  subject	  to	  large	  year-­‐end	  adjustments	  resulting	  from	  a	  physical	  
inventory	  count.	  Additionally,	  construction	  companies	  keeping	  their	  books	  on	  the	  percentage	  of	  completion	  
method	  and	  several	  other	  industries	  could	  be	  identified.	  However,	  we	  are	  proposing	  this	  test	  as	  a	  solution	  as	  
we	  recognize	  within	  every	  industry	  there	  may	  be	  exceptions.	  Therefore,	  this	  objective	  test	  can	  avoid	  the	  
anticipated	  hesitancy	  to	  give	  any	  one	  industry	  a	  blanket	  exemption	  from	  further	  due	  diligence	  than	  is	  currently	  
in	  place.	  	  
	  
	  

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1
     	  7.5	  percentage	  points	  based	  on	  page	  8	  of	  the	  Declaration	  by	  Hal	  Sider	  dated	  October	  9,	  2013.	  


                       	                                                                                                                                                                                                                           Page	  2	  of	  4	     	  
            Case 2:10-md-02179-CJB-DPC Document 11728-3 Filed 10/24/13 Page 7 of 8




                                                 Examples	  of	  Variable	  Margin	  Reasonability	  Test	  

	  
	  
	  
Example	  1:	  Passing	  Result	  
	  
First	  Prong:	  Variable	  Margins	  as	  calculated	  in	  Steps	  1	  and	  2	  
Compensation	  Period	  VMP	                                   42%	  
Annual	  2010	  VMP	                                           50%	  
	  
Step	  3:	  	  	         (Compensation	  Period	  VMP	  -­‐	  Annual	  2010	  VMP)	  /	  Annual	  2010	  VMP	  =	  	  	  
                             (42%	  -­‐	  50%)	  /	  50%	  =	  	  
                             -­‐8%	  /	  50%	  =	  -­‐16%	  variance	  
	  
Step	  4	  Result:	  	   The	  Claimant	  passes	  the	  first	  prong	  of	  the	  Variable	  Margin	  Reasonability	  Test	  as	  -­‐16%	  is	  within	  
                             +/-­‐	  30%	  threshold.	  
	  
Second	  Prong:	  Variable	  Margins	  as	  calculated	  in	  Step	  5	  
Benchmark	  Period	  VMP	                                      58%	  
Annual	  Benchmark	  Period	  VMP	   55%	  
	  
Step	  6:	   	            (Benchmark	  Period	  VMP	  -­‐	  Annual	  Benchmark	  Period	  VMP)	  /	  Annual	  Benchmark	  Period	  VMP	  =	  	  	  
                             (58%	  -­‐	  55%)	  /	  55%	  =	  	  
                             3%	  /	  55%	  =	  5.5%	  variance	  
	  
Step	  7	  Result:	  	   The	  Claimant	  passes	  the	  second	  prong	  of	  the	  Variable	  Margin	  Reasonability	  Test	  as	  5.5%	  is	  
                             within	  +/-­‐	  30%	  threshold.	  The	  claim	  will	  not	  be	  subject	  to	  further	  variable	  expense	  analysis	  and	  
                             should	  be	  processed	  in	  accordance	  with	  Exhibit	  4C.	  
	  
	  
	  
Example	  2:	  Fails	  First	  Prong	  
	  
First	  Prong:	  Variable	  Margins	  as	  calculated	  in	  Steps	  1	  and	  2	  
Compensation	  Period	  VMP	                                   30%	  
Annual	  2010	  VMP	                                           50%	  
	  
Step	  3:	  	  	         (Compensation	  Period	  VMP	  -­‐	  Annual	  2010	  VMP)	  /	  Annual	  2010	  VMP	  =	  	  	  
                             (30%	  -­‐	  50%)	  /	  50%	  =	  	  
                             -­‐20%	  /	  50%	  =	  -­‐40%	  variance	  
	  
Step	  4	  Result:	  	   The	  Claimant	  fails	  the	  first	  prong	  of	  the	  Variable	  Margin	  Reasonability	  Test	  as	  -­‐40%	  is	  outside	  
                             of	  +/-­‐	  30%	  threshold	  and	  the	  -­‐20%	  nominal	  difference	  is	  greater	  than	  +/-­‐7.5%.	  The	  claim	  will	  
                             be	  subject	  to	  further	  review	  of	  variable	  expenses.	  
	  
	  



     	                                                                         Page	  3	  of	  4	                                                                    	  
            Case 2:10-md-02179-CJB-DPC Document 11728-3 Filed 10/24/13 Page 8 of 8



Example	  3:	  Fails	  Second	  Prong	  
	  
First	  Prong:	  Variable	  Margins	  as	  calculated	  in	  Steps	  1	  and	  2	  
Compensation	  Period	  VMP	                                   42%	  
Annual	  2010	  VMP	                                           50%	  
	  
Step	  3:	  	  	         (Compensation	  Period	  VMP	  -­‐	  Annual	  2010	  VMP)	  /	  Annual	  2010	  VMP	  =	  	  	  
                             (42%	  -­‐	  50%)	  /	  50%	  =	  	  
                             -­‐8%	  /	  50%	  =	  -­‐16%	  variance	  
	  
Step	  4	  Result:	  	   The	  Claimant	  passes	  the	  first	  prong	  of	  the	  Variable	  Margin	  Reasonability	  Test	  as	  -­‐16%	  is	  within	  
                             +/-­‐	  30%	  threshold.	  
	  
Second	  Prong:	  Variable	  Margins	  as	  calculated	  in	  Step	  5	  
Benchmark	  Period	  VMP	                                      73%	  
Annual	  Benchmark	  Period	  VMP	   55%	  
	  
Step	  6:	   	            (Benchmark	  Period	  VMP	  -­‐	  Annual	  Benchmark	  Period	  VMP)	  /	  Annual	  Benchmark	  Period	  VMP	  =	  	  	  
                             (73%	  -­‐	  55%)	  /	  55%	  =	  	  
                             18%	  /	  55%	  =	  32.7%	  variance	  
	  
Step	  7	  Result:	  	   The	  Claimant	  fails	  the	  second	  prong	  of	  the	  Variable	  Margin	  Reasonability	  Test	  as	  32.7%	  is	  
                             outside	  of	  +/-­‐	  30%	  threshold	  and	  the	  18%	  nominal	  difference	  is	  greater	  than	  +/-­‐7.5%.	  The	  
                             claim	  will	  be	  subject	  to	  further	  review	  of	  variable	  expenses.	  
	  




     	                                                                         Page	  4	  of	  4	                                                                   	  
